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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,              Case No. 1:20-cv-03010-APM

 v.                                                      HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.




                                      [PROPOSED] ORDER

       Pursuant to the Court’s inherent authority and its authority to govern discovery, the Court

finds that Defendant Google LLC (Google) has committed sanctionable misconduct by its

intentional efforts to misuse the attorney-client privilege to shield ordinary-course business

communications from discovery. This has resulted in harm to Plaintiffs, undermined their

discovery efforts, and subverted the judicial process.

       In the course of discovery in these actions, Google has produced documents showing that

the company directs employees to add artificial indicia of privilege on business communications

to shield them from discovery—a practice Google refers to as “Communicate with Care.”

Specifically, presentations given to Google employees show that on “any written

communication” about Google’s revenue-share agreements and Mobile Application Distribution

Agreements, both of which Google enters into with its search distribution partners, Google

employees were directed to (1) include a Google in-house attorney as a recipient, (2) add an


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attorney-client privilege label, such as “Confidential – Attorney-Client Privileged,” and

(3) request generic advice or guidance from the added in-house attorney.

        Google gives these directions without regard for whether there is any need for legal

advice. Documents produced by Google in this action also show that many Google employees, of

various levels of seniority, executed these instructions even after Google received a Civil

Investigative Demand from the Department of Justice and after the filing of the U.S. Plaintiffs’

Complaint.

        Through its Communicate-with-Care program, Google impedes the efforts of regulators,

private litigants, and courts to engage in a full and fair search for truth. Indeed, the Plaintiffs in

this action have needed to repeatedly demand that Google re-review and reproduce thousands of

documents that were improperly withheld or redacted based on Google’s gamesmanship. By

these actions, Google has committed sanctionable misconduct, and its actions require

condemnation.

        Alternatively, because Google’s conduct makes it impossible to distinguish between

pretextual and genuine requests for legal advice, the Court finds that Google has not met its

burden to claim privilege over communications created pursuant to the Communicate-with-Care

policy, especially where the in-house counsel included in the communications never responds.

Therefore, Google cannot make the necessary showing to maintain privilege claims over these

communications and they must be produced.

        Accordingly, the Court hereby ORDERS the following:

        (1) No later than May 2, 2022, Google must produce all withheld or redacted

             communications (including attachments and linked documents) in unredacted form

             where an in-house attorney was included but did not respond in the chain of



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   communications with non-attorneys.

(2) No later than May 2, 2022, Google must provide a single privilege log for all of the

   documents on which Google continues to maintain an attorney-client privilege claim.

   This privilege log must not include an entry for any document on which Google no

   longer claims attorney-client privilege, including documents produced in response to

   this Order.

(3) No later than May 2, 2022, Google must provide an index of all documents that

   Google has deprivileged in this litigation, including documents deprivileged as a

   result of this order. The index must include information sufficient to reasonably

   enable matching the original privilege log identifier with the Bates number of the

   newly produced deprivileged document.

                                             SO ORDERED.

                                             Dated this __ Day of March, 2022.



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